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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 IN RE PORK ANTITRUST                                        Case No. 18-cv-1776 (JRT/JFD)
 LITIGATION


 This Document Relates To:

 COMMERCIAL AND
 INSTITUTIONAL INDIRECT
 PURCHASER PLAINTIFF ACTION



             DECLARATION OF JONATHAN CUNEO IN SUPPORT OF
           COMMERCIAL AND INSTITUTIONAL INDIRECT PURCHASER
           PLAINTIFFS’ MOTION FOR AN AWARD OF ATTORNEYS’ FEES,
            REIMBURSEMENT OF LITIGATION EXPENSES, SET ASIDE
                FOR FUTURE LITIGATION EXPENSES, AND CLASS
                     REPRESENTATIVE SERVICE AWARDS


      I, Jonathan W. Cuneo, declare as follows:

      1.      I am an attorney admitted to practice pro hac vice in the District of Minnesota in

the above-captioned lawsuit. I have practiced law since 1978 and am a partner with the firm

of Cuneo, Gilbert & LaDuca, LLP in Washington, D.C. I have litigated class actions and

other complex matters most of my career. This declaration is submitted in support of

Commercial and Institutional Indirect Purchaser Plaintiffs’ Motion for an Award of

Attorneys’ Fees, Reimbursement of Litigation Expenses, Set Aside for Future Expenses, and

Class Representative Service Awards.




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       2.      I am one of the Interim Co-Lead Class Counsel appointed by the Court to

represent the putative litigation and provisionally certified settlement class of commercial

institutional indirect purchaser plaintiffs (“CIIPPs”) in this litigation.

       3.      The law firms representing the CIIPPs have worked on this litigation on a

contingent basis since 2018. My law firm, and the law firms representing the CIIPPs under

the direction of Interim Co-Lead Counsel for the CIIPPs, have done so without any

guarantee of being paid for their time or being reimbursed for the considerable expenses and

time devoted in the pursuit of the case involved in the settlement currently before the Court.

        4.     We have worked in coordination with other co-counsel for the CIIPPs. Work

assignments in this case have been made by Interim Co-Lead Counsel (Larson ‧ King, LLP

and Cuneo Gilbert & LaDuca, LLP) to avoid duplicative efforts and my firm has worked

efficiently on behalf of our named representative clients and the absent class members.

       5.      The schedule attached to this declaration as Exhibit A, and incorporated

herein, is a summary of the amount of time spent by my firm’s partners, attorneys, and

professional support staff who were involved in this litigation through the end of July 2022.

The lodestar calculation is based on my firm’s current billing rates for antitrust class action

litigation. Exhibit A was prepared from computerized time records regularly prepared and

maintained by my firm. The hourly rates for my firm’s partners, attorneys, and professional

support staff included in Exhibit A are the customary hourly rates charged for their services

in similar complex litigation. In addition, my firm has submitted fee petitions in other cases

that have reported hourly rates at amounts comparable to those sought here, and courts have

approved an award of attorneys’ fees in such cases.


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       6.     The total number of hours reasonably expended on this litigation by my firm

from inception through July 31, 2022 is 7067.15. The total lodestar for my firm at current

rates is $4,799,428.75. Expense items are billed separately and are not duplicated in my firm’s

lodestar.

       7.     The expenses my firm incurred in litigating this action are reflected in the

books and records of my firm. These books and records are prepared from expense

vouchers, receipts, check records, and other source materials and accurately reflect the

expenses incurred.

       8.     Since the Court’s order in November 2021 allowing reimbursement of

expenses incurred by the CIIPPs, my firm has incurred and paid $7,527.47 in expenses, all of

which were reasonable and necessary for the prosecution of this litigation. A summary of

those expenses by category is attached as Exhibit B. Assessments my firm paid to a litigation

expense fund for this case are not included in Exhibit B and will be addressed separately in

another declaration.

       I declare under penalty of perjury under the laws of the United States of America that

the foregoing is true and correct.

       Dated: August 19, 2022              /s/ Jonathan W. Cuneo_____________________
                                           Jonathan W. Cuneo




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                    Commercial and Institutional Purchaser Plaintiff Action
                               Case No. 18-cv-1776 (JRT/HB)

                                       EXHIBIT A
                                     LODESTAR SUMMARY

Firm:                  Cuneo Gilbert & LaDuca, LLP
Reporting Period:      Inception – July 31, 2022

Professional                Status     Hourly Rate       Total Hours     Total Lodestar
                                                         To Date         To Date
Jonathan Cuneo              P                $1,250.00            453.75     $567,187.50
Joel Davidow                P                $1,050.00            148.50     $155,925.00
David Noll                  OC               $1,000.00             57.70      $57,700.00
James Wallace               P                  $895.00              54.0      $48,330.00
Monica Miller               P                  $950.00              0.70          $665.00
Daniel Cohen                P                  $800.00            418.00     $334,400.00
Jennifer Kelly              P                  $750.00            291.40     $218,550.00
Amanda Lewis                P                  $750.00             71.00      $53,250.00
Victoria Sims               P                  $750.00              0.80         $600.00
Evelyn Li                   P                  $750.00            386.45     $289,837.50
Blaine Finley               P                  $725.00          3,789.30   $2,747,242.50
Peter Gil-Montilor          P                  $725.00             21.50      $15,587.50
Aaron Zoellick              LC                $325.00              23.90        $7,767.50
Kaylah Alexander            LC                $275.00              58.05      $15,963.75
Barbara Yuill               LC                $275.00             141.35      $38,871.25
John Yuill                  LC                $275.00             117.15      $32,216.25
Benjamin Apelbaum           PL                 $225.00             36.10        $8,122.50
Ally Bachart                PL                 $225.00              7.00        $1,575.00
Noah Bray                   PL                 $225.00            525.10     $118,147.50
Momena Haider               PL                 $225.00             89.00      $20,025.00
Olivia Harwood              PL                 $225.00             99.50      $22,387.50
Gregory Heeren              PL                 $225.00              0.10           $22.50
Natasha Vij                 PL                 $225.00              6.50        $1,462.50
Darren Villalobos           PL                 $225.00            137.80      $31,005.00
Nicholas Hassett                                $95.00             87.25        $8,288.75
Roy Tiefer                                      $95.00             45.25        $4,298.75

                                             TOTALS             7067.15       $4,799,428.75


Status:
Partner (P)
Associate (A)
Paralegal (PL)
Of Counsel (OC)
Law Clerk (LC)
Legal Assistant (LA)
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                                         EXHIBIT B
                            EXPENSE / DISBURSEMENT SUMMARY

Firm:                   Cuneo Gilbert & LaDuca, LLP
Reporting Period:       August 1, 2021 – July 31, 2022

EXPENSE                                                           AMOUNT
Federal Express, Local Courier, etc.                                           $250.00
Postage Charges                                                                  $0.00
Facsimile Charges                                                                $0.00
Long Distance                                                                 $1416.43
In-House Photocopying                                                            $0.00
Outside Photocopying                                                             $0.00
Travel (Transportation, lodging, meals, etc.)                                 $2839.65
Court fees (filing, etc.)                                                      $168.95
Professional Fees (expert/investigators, etc.)                                   $0.00
Witness/Service Fees                                                             $0.00
Court Reporter/Transcripts                                                     $555.90
Computer Research                                                             $1626.73
Miscellaneous (Database Hosting)                                               $669.81
                                                         TOTAL                $7,527.47
